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IN THE UNITED sTATES DISTRICT CoURT -”"i» W _

FOR THE WESTERN I)ISTRICT 0F TENNESSEE _, M q , _

wESTERN DIVISION 95 ft ¢: s .`!-'. il a

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J`¢‘;'“t; . 'S. ink "
MARTINO TAYLOR, W.t).[ tip {~N, r.\;;&,,,p,q}§
Plaintiff,

v. NO.:2:04-Cv-2722-B/v

UNITED PARCEL SERVICE, INC.

Defendant.

 

W] ORDER GRANTING PLAINTIFF’S UNOPP()SED MOTION FOR
MODIFICATION OF THE COURT’S SCHEDULING ORDER AND TO CONTINUE
TRIAL DATE

 

lt appearing to this Court that good cause is shown and that Plaintiff`s Unopposed Motion
for Modii`lcation of the Court’s Scheduling Order and to Continue the Trial Date should be
granted;

IT IS, THEREFORE, ORDERED that this Court’s Schedu]ing Order be modified as
follows:

COMPLETING ALL DISCOVERY: No later than August 22, 2005.

(a) DOCUMENT PRODUCTION: No later than August 22, 2005.

(b) DEPOSITIONS, INTERROGATORIES AND REQUEST FOR ADMISSIONS:

No later than August 22, 2005.
(c) EXPERT WITNESS DISCLOSURE: (RULE 26):

(l) DISCLOSURE OF PLAWTIFF’S RULE 26 EXPERT INFORMATION:

NO later than June 21, 2005.

Th|s document entered on the docket sheet g comEllanco
with Flule 58 and/or 79(3) FRCP on "

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(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: No later than July 21, 2005.
(3) EXPERT WITNESS DEPOSITIONS: No later than August 22, 2005.
FILING DISPOSITIVE MOTIONS: NO later than September 21, 2005.

(d) Trial date

 

    
 

ED STATES DI§TRICT JUDGE
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This notice confirms a copy of the document docketed as number 28 in
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US DISTRICT COURT

